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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 RENATA SINGLETON; MARC
 MITCHELL; LAZONIA BAHAM; JANE
 DOE; TIFFANY LACROIX; FAYONA                       Civil Action No. 17-10721
 BAILEY; JOHN ROE; and SILENCE IS
 VIOLENCE,                                          Section H
                                                    Judge Jane Triche Milazzo
         Plaintiffs,
                                                    Division 1
 v.                                                 Magistrate Judge Janis van Meerveld

 LEON CANNIZZARO, in his official
 capacity as District Attorney of Orleans
 Parish and in his individual capacity;
 GRAYMOND MARTIN; DAVID PIPES;
 IAIN DOVER; JASON NAPOLI; ARTHUR
 MITCHELL; TIFFANY TUCKER;
 MICHAEL TRUMMEL; MATTHEW
 HAMILTON; INGA PETROVICH; LAURA
 RODRIGUE; SARAH DAWKINS; and
 JOHN DOE, in their individual capacities,

         Defendants.


      MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
      ON TIFFANY LACROIX’S CLAIMS AGAINST INDIVIDUAL DEFENDANTS

        Defendants Laura Rodrigue, David Pipes, and Graymond Martin (collectively, the

“Individual Defendants”), through undersigned counsel, respectfully submit this memorandum in

support of their motion seeking summary judgment dismissing Tiffany LaCroix’s remaining

claims against them—state-law tort claims for abuse of process and fraud.

        The undisputed facts in this case show that Ms. Rodrigue sent a “DA subpoena” to Ms.

LaCroix because she was a witness in an upcoming trial and Ms. Rodrigue wanted to meet with

her to ascertain what her testimony would be and prepare for trial. Ms. LaCroix did not comply

with the “DA subpoena,” and to this day, she has never met with, or even spoken to, Ms. Rodrigue.




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Ms. Rodrigue has never attempted to threaten or intimidate Ms. LaCroix into complying with the

“DA subpoena” and has never attempted to have Ms. LaCroix punished for failing to comply with

it.

        Based on these facts, Ms. LaCroix’s abuse-of-process claim fails as a matter of law for

multiple reasons. The tort of abuse of process is premised on misuse of legally issued court process

for an improper, malicious, collateral purpose. But the document sent to Ms. LaCroix was created

by the District Attorney’s Office and was not issued or authorized by any court or enforceable in

any court. Thus, there was no “legal process” to abuse. Second, there is no evidence suggesting

that Ms. Rodrigue had any malicious or collateral purpose of harming Ms. LaCroix or furthering

some personal interest at Ms. LaCroix’s expense. Rather, the evidence shows that Ms. Rodrigue

merely sought to meet with a witness to prepare for trial, which is a legitimate goal that is directly

within the scope of her proper role as a prosecutor. Third, Ms. LaCroix cannot prove that she

suffered any legally cognizable injury as a result of receiving a “DA subpoena.” Similarly, Ms.

LaCroix’s fraud claim fails because she cannot show any injury that was caused by reliance on

allegedly false statements in the “DA subpoena.” The Individual Defendants are therefore entitled

to summary judgment in their favor.

                                         BACKGROUND

        On April 9, 2016, Cardell Hayes was driving on Magazine Street with a friend when he

made an abrupt stop near St. Andrew Street. See State v. Hayes, _ So. 3d _, 2019 WL 1386493, at

*2 (La. App. 4th Cir. Mar. 27, 2019). New Orleans Saints hall-of-famer Will Smith was driving

behind Mr. Hayes in a car with his wife (Raquel Smith) and two friends. See id. Mr. Hayes claims

that his vehicle was bumped by Mr. Smith’s vehicle, though the passengers in Mr. Smith’s vehicle

deny that there was any collision. See id. In any event, Mr. Smith drove away and Mr. Hayes began




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to follow him. See id. A minute or two later, Mr. Hayes rammed into the back of Mr. Smith’s

vehicle, damaging the car and shattering the back windshield. See id.

       Mr. Hayes got out of his vehicle armed with a loaded .45 caliber handgun. See id. at *11.

Mr. Smith got out of his vehicle, unarmed, and began to argue with Mr. Hayes. See id. at *3, 11.

Mrs. Smith tried to break up the argument, pleading with her husband and asking him to think

about their children. See id. at *3. As Mr. Smith began to walk away with her, Mr. Hayes fired two

shots. See id. Mrs. Smith was shot through both legs, severely injuring her, and Mr. Smith was

shot in the side. See id. at *3, 5, 13 & n.20. Mr. Hayes then fired seven additional shots into Mr.

Smith’s back, killing him. See id. at *3.

       Mr. Hayes was indicted for second-degree murder, attempted second-degree murder, and

aggravated criminal damage to a vehicle. See id. at *1. The shooting and the subsequent criminal

case attracted substantial attention from both local and national media. Even before the indictment

was returned, Mr. Hayes’s attorney made clear through public media statements that Mr. Hayes

was claiming to have acted in justified self-defense.1

       On October 1, 2016, two months before Mr. Hayes’s trial was scheduled to begin, GQ

published a lengthy article about the shooting that was predominately based on Mr. Hayes’s




1
  See, e.g., Exhibit 1, Travers Mackel, Attorney for accused killer in Will Smith death to stay on
case, WDSU NEWS, April 13, 2016 (also available at https://www.wdsu.com/article/attorney-for-
accused-killer-in-will-smith-death-to-stay-on-case/3386405); Exhibit 2, Josh Peter, How Cardell
Hayes went from football prospect to murder suspect, USA TODAY, April 13, 2016 (also available
at https://www.usatoday.com/story/sports/nfl/saints/2016/04/13/cardell-hayes-new-orleans-will-
smith-shooting/82976404/); Exhibit 3, Erik Ortiz, Ex-New Orleans Saints star Will Smith was shot
seven times in the back, NBC NEWS, April 13, 2016 (also available at
https://www.nbcnews.com/news/us-news/ex-new-orleans-saints-star-will-smith-was-shot-8-
n555461).


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version of the events.2 The article was based in part on an interview with Ms. LaCroix—Mr.

Hayes’s long-time girlfriend, and the mother of his son—who provided information about Mr.

Hayes’s background and personality. More importantly, Ms. LaCroix revealed that Mr. Hayes had

called her on the telephone and spoken with her immediately after the shooting. The article stated:

          He’s on his phone, calling his ex-girlfriend, an English teacher he’d been with from
          the eighth grade until a few months ago. They’re still close, raise their son together.
          His voice is panicky, cracking, like he’s gulping for air. He’s talking in fragments,
          not making sense, not to Tiffany, anyway. I shot someone, he tells her. I don’t know
          what happened, he says. And both of those things, right then in the echoing wail of
          the approaching sirens, are absolutely true.3

The article provided further information about Mr. Hayes’s phone call with Ms. LaCroix: “He

waited for the police, and he called Tiffany. ‘These white guys kept coming at us,’ he told her in

a raspy panic. ‘He was going to get a gun . . . . I don’t know what happened.’”4 The article also

revealed that, about one hour before the shooting, Mr. Hayes had been at Lance’s barbershop,

where Anthony Williams was cutting his hair.5

          The following week, on October 11, 2016, another lengthy article about the shooting was

published in the national media—this time in Sports Illustrated.6 That article also included quotes

from Ms. LaCroix describing her conversation with Mr. Hayes immediately after the shooting:

“‘He was just in total shock,’ says LaCroix, recalling the conversation. ‘He was like, “I shot




2
 See Exhibit 4, Sean Flynn, The Shooter & The Saint, GQ: GENTLEMEN’S QUARTERLY, October
1, 2016; see also https://www.gq.com/story/saint-will-and-the-man-who-shot-him (October 3,
2016 online version of article).
3
    See Exhibit 4, The Shooter & The Saint, at 2.
4
    See Exhibit 4, The Shooter & The Saint, at 8.
5
    See Exhibit 4, The Shooter & The Saint, at 3.
6
  See Exhibit 5, Richard O’Brien, Complicated Truth Behind Will Smith’s Killing, SPORTS
ILLUSTRATED, October 11, 2016 (also available at https://www.si.com/nfl/2016/10/11/will-smith-
death-new-orleans).


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somebody! They kept coming! They attacked us!”’”7 The Sports Illustrated article also included

quotes from Lance Rouzan (the barbershop owner) and Anthony Williams (Mr. Hayes’s barber)

about Mr. Hayes, his nature and personality, and his actions on the day of the shooting.8

          Before these articles were published, Ms. Rodrigue—one of the prosecutors working on

the case against Mr. Hayes—was not aware that Mr. Hayes had called Ms. LaCroix immediately

after the shooting or that he had been with Mr. Williams and Mr. Rouzon just before the shooting.9

None of these witnesses had ever been interviewed by the police or prosecutors.10 Recognizing

that their testimony was relevant, and potentially very important, to Mr. Hayes’s claim of self-

defense, Ms. Rodrigue hoped to speak with them before trial to ascertain what their testimony

would be.11 Accordingly, in late November 2016, about one week before trial was to begin, Ms.

Rodrigue sent “DA subpoenas” to the three witnesses directing them to appear at the DA’s office.12

          Mr. Williams and Mr. Rouzon appeared at the DA’s office and spoke to Ms. Rodrigue

about Mr. Hayes.13 Ms. Rodrigue told them she had read about the interview they gave to GQ and

wanted to know if they had relevant information about the night of the shooting.14 Mr. Williams

and Mr. Rouzon talked about Mr. Hayes generally but said that they had not spoken to Mr. Hayes

about the events of the shooting and had no information about the shooting.15 Mr. Williams later



7
    See Exhibit 5, Complicated Truth Behind Will Smith’s Killing, at 10.
8
    See Exhibit 5, Complicated Truth Behind Will Smith’s Killing, at 4.
9
    See, e.g., Exhibit 6, Excerpts of Laura Rodrigue Deposition, at 71, 95.
10
     See, e.g., Exhibit 7, Excerpts of Tiffany LaCroix Deposition, at 51.
11
     See, e.g., Exhibit 6, Rodrigue Depo,. at 71, 79.
12
     See, e.g., Exhibit 6, Rodrigue Depo., at 70–71, 80, 85–86.
13
     See Exhibit 8, Excerpts of Cardell Hayes Trial Testimony (December 9, 2016), at 194.
14
     See Exhibit 8, Hayes Trial Testimony at 194, 201.
15
     See Exhibit 8, Hayes Trial Testimony at 194–197, 201–202.


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testified at trial and confirmed that there was no “strong-arming” by Ms. Rodrigue and that he had

no problem coming to talk with Ms. Rodrigue about Mr. Hayes.16 Similarly, Mr. Rouzon testified

that he “had a good conversation at the D.A.’s office” with Ms. Rodrigue and told her “exactly

basically what [he] just told the ladies and gentlemen of the jury.”17

          By contrast, Ms. LaCroix did not want to speak with anyone at the DA’s office because

she was concerned that they may be able to use what she said against Mr. Hayes.18 Ms. LaCroix

came home after dark on Sunday, November 27, 2016, and discovered the “DA subpoena” stuck

in her front door.19 The document directed Ms. LaCroix to contact Ms. Rodrigue and to appear at

the District Attorney’s Office at noon on November 29, 2016. Ms. LaCroix called her mother, who

told her that she should get an attorney and proceeded to contact other relatives looking for a

recommendation.20 The following day, Ms. LaCroix met with and retained an attorney, Anthony

Ibert.21 Mr. Ibert told Ms. LaCroix “that [she] didn’t have to go or participate, . . . because the

document was fake, basically.”22 Thus, after speaking to Mr. Ibert, Ms. LaCroix believed that the

document she had received was not a valid subpoena and that she was not required to appear at the

District Attorney’s Office on November 29.23

          Ms. LaCroix did not appear at the District Attorney’s Office on November 29, 2016 (or

any other date) to speak with Ms. Rodrigue. She did, however, talk to Mr. Hayes on the phone on


16
     See Exhibit 8, Hayes Trial Testimony, at 195.
17
     See Exhibit 8, Hayes Trial Testimony, at 201; see also Exhibit 6, Rodrigue Depo., at 96.
18
     See Exhibit 7, LaCroix Depo., at 71, 76–77.
19
     See Exhibit 7, LaCroix Depo., at 48.
20
     See Exhibit 7, LaCroix Depo., at 50, 61.
21
     See Exhibit 7, LaCroix Depo., at 62.
22
     See Exhibit 7, LaCroix Depo., at 54.
23
     See Exhibit 7, LaCroix Depo., at 67.


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November 29 about the “DA subpoena” she had received. Ms. LaCroix explained that she had

spoken with Mr. Hayes’s lawyer and gotten her own lawyer, and that the situation was “very good.

Very very good for you.”24 Ms. LaCroix stated: “You’re lucky I’m so smart. . . . It’s good. It’s a

good thing. Yeah. Yes. Very good. . . . [T]hey tried to play with me, and they getting’, they about

to get played. Big time. Come knockin’ at this door. I’m a show you. . . . Good thing I know how

to read. That’s for sure.”25

          Also on November 29, 2016, Mr. Ibert filed a “Motion to Quash” in Orleans Parish

Criminal District Court.26 Among other things, the motion explained that “the subpoena does not

appear on its face to be issued by the clerk of court.”27 A hearing on Mr. Ibert’s motion was set for

the following day, November 30, and Mr. Ibert appeared without Ms. LaCroix. At the beginning

of the hearing, Ms. Rodrigue stated: “[T]he State can withdraw the ‘DA’ subpoena at this time.

We don’t need the hearing. We just need her served for trial.”28 As Ms. Rodrigue explained in her

deposition: “At that point it was obvious she was not going to speak to us. So I said to withdraw,




24
   See Exhibit 9, Audio recording of November 29, 2016 phone call, at 0:22–1:45; see also Exhibit
7, LaCroix Depo., at 52–58.
25
   See Exhibit 9, Audio recording, at 0:22–1:45. The Complaint alleges that Ms. LaCroix’s
unwillingness to meet with prosecutors was based in part on a scheduling conflict: “She works as
a schoolteacher, and she was one of the few teachers certified to administer statewide standardized
testing to students with special needs. The appointment demanded by the fraudulent subpoena
would have required her to miss one of the testing days.” Doc. No. 52 at ¶ 321. However, Ms.
LaCroix’s deposition testimony reveals that this allegation is completely false. She testified that
she believed that November 29, 2016, would have been a teacher training day, not a testing day.
See Exhibit 6, LaCroix Depo., at 82–84. She also testified that she, “along with other teachers,”
was required to undergo specific training to administer standardized testing to “504 accommodated
student[s].” See id. at 83. She further admitted that she did not know whether November 29, 2016,
was a training day. See id. at 84–85.
26
     See Exhibit 10, Motion to Quash filed in State v. Cardell Hayes (November 29, 2016).
27
     See Exhibit 10, Motion to Quash, at page 1 of “Memorandum in Support.”
28
     See Exhibit 11, Transcript of November 30, 2016 hearing, at 1.


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that we didn’t need to speak with her, and that to just serve her for trial so at least she can’t basically

flee if something that she said becomes relevant, I guess in connection with her Sports Illustrated

interview . . . .”29

          Judge Camille Buras asked Mr. Ibert: “As an officer of the Court will you accept service

for her?”30 Mr. Ibert stated that he was not authorized to accept service for Ms. LaCroix and

suggested that the State attempt to serve her at her home.31 At the same time, Mr. Ibert was

reluctant to provide Ms. LaCroix’s address on the record.32 Judge Buras issued an instanter

subpoena for Ms. LaCroix to appear at trial and instructed Mr. Ibert:

          [P]lease put her address on the—if you don’t want to put it on the record, I
          understand, but it has to be on the subpoena or I’ll just go instruct the sheriff’s
          office to pick her up at her job and bring her here to get in court service. . . . So we
          can do it the paperwork way or we can do it the, come to take a ride to Section ‘H’
          way.33

          Mr. Hayes was ultimately convicted of manslaughter and attempted manslaughter after a

seven-day trial. As foreshadowed in Ms. LaCroix’s November 29 phone call with Mr. Hayes

(stating that it was “very very good” for him), Mr. Hayes’s lawyers attempted to exploit the “DA

subpoena” issue in his criminal case, both at trial and on appeal.34 Ms. LaCroix appeared at Mr.


29
     See Exhibit 6, Rodrigue Depo., at 97.
30
     See Exhibit 11, Transcript of November 30, 2016 hearing, at 2.
31
     See Exhibit 11, Transcript of November 30, 2016 hearing, at 2.
32
     See Exhibit 11, Transcript of November 30, 2016 hearing, at 3.
33
     See Exhibit 11, Transcript of November 30, 2016 hearing, at 4–5.
34
   See, e.g., Exhibit 8, Hayes Trial Testimony, at 191–193 (questioning Anthony Williams);
Exhibit 12, Charles Maldonado, Fake subpoena could factor into Cardell Hayes’ appeal of
manslaughter      conviction,    THE LENS,       July   24,     2017    (also   available     at
https://thelensnola.org/2017/07/24/fake-subpoena-used-in-cardell-hayes-case-could-factor-into-
his-appeal-of-manslaughter-conviction/); Exhibit 13, Ken Daley, Cardell Hayes’ appeal in Will
Smith killing seeks probe of fake ‘DA’s subpoena,’ NOLA.COM, July 24, 2017 (also available at
https://www.nola.com/news/crime_police/article_9adaae8c-a678-5e46-8f25-
486e159af058.html).


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Hayes’s sentencing on April 20, 2017, and testified on his behalf, describing him as “one of the

best men that I know” who “always avoided any type of altercation” and “never ever ran to or

looked for any type of trouble.”35 Ms. LaCroix also included a detailed account of her phone call

with Mr. Hayes immediately after the shooting, which supported his claim of self-defense:

          And I know he’s so sorry. He’s just so—he didn’t mean to do that. He was—and
          that I know him he was in fear for his life. He was afraid because I talked to him.
          He called me right after it happened and I answered the phone and he was screaming
          on the phone and I’ve never heard him like that. And I said, “Cardell, Cardell, calm
          down. What’s wrong?” He said, he said, “I shot somebody.” I said, “What?” He
          said, “I don’t know. They were attacking me. I didn’t know what to—they were
          attacking me. They were attacking me.” . . . . He sounded just so afraid and just—
          he was so scared.36

          In her deposition, Ms. LaCroix testified that the first time she spoke with anyone about

suing the Orleans Parish District Attorney’s Office was when someone “reached out to [her] in

regards to it.”37 Specifically, Ms. LaCroix testified that a woman from the ACLU whom she had

not previously spoken to contacted her by phone to offer legal representation.38 As a result of this

solicitation, Ms. LaCroix became a plaintiff in the present lawsuit.

                                    PROCEDURAL HISTORY

          Ms. LaCroix initially asserted claims against OPDA, Mr. Martin, Mr. Pipes, and Ms.

LaCroix under the First, Fourth, and Fourteenth Amendments, alleging unlawful seizure,

compelled speech, and retaliation, along with vague allegations of substantive-due-process

violations. Ms. LaCroix also asserted Louisiana state-law claims for fraud and abuse of process.




35
     See Exhibit 14, Excerpts of Cardell Hayes sentencing, at 34–35.
36
     See Exhibit 14, Excerpts of Cardell Hayes sentencing, at 37–38.
37
     See Exhibit 7, LaCroix Depo., at 116.
38
     See Exhibit 7, LaCroix Depo., at 116–120.


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       On the Defendants’ Rule 12(b)(6) motion, the Court dismissed Ms. LaCroix’s Fourth

Amendment claim, concluding that she was never “seized”—rather than comply with the allegedly

unlawful subpoena, she disputed it and refused to appear at the DA’s office. See Doc. No. 116 at

19–21. The Court also dismissed Ms. LaCroix’s First Amendment compelled-speech claim,

concluding that Ms. LaCroix never “met with prosecutors” or “spoke” in response to an allegedly

unlawful subpoena. See id. at 37. The Court also held that all Individual Defendants are shielded

by absolute prosecutorial immunity with respect to all alleged conduct other than creating or

issuing unlawful subpoenas (and failure to supervise or intervene in relation to such conduct). See

id. at 17 The Court also held that the Individual Defendants are entitled to qualified immunity with

respect to any remaining federal claims. See id. at 18–26.39 Finally, the Court later granted partial

summary judgment dismissing all claims for injunctive relief against the Individual Defendants

for lack of standing. See Doc. No. 200.

       As a result of the rulings described above, Ms. LaCroix has only two remaining claims

against the Individual Defendants—state-law claims for abuse of process and fraud. Moreover,

based on the Court’s immunity rulings, those claims are limited to seeking damages for whatever

injury Ms. LaCroix may have suffered due to receiving allegedly unlawful subpoenas directing

her to appear at the DA’s office. With respect to the fraud claim, the Court has construed that claim

as limited to seeking damages based on the cost of hiring an attorney in response to receiving an

allegedly unlawful subpoena. See Doc. No. 116 at 41–42.




39
  See also Doc. No. 179 (granting qualified immunity on supervisory claims against Mr.
Cannizzaro, Mr. Martin, and Mr. Pipes).


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                                      LEGAL STANDARD

       Summary judgment must be granted as to all or part of any claim or defense “if the movant

shows that there is no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” FED. R. CIV. P. 56(A).

                                          DISCUSSION

I.     Ms. LaCroix’s claim for abuse of process fails because there was no “legal process,”
       because there was no malicious purpose to achieve an improper collateral objective,
       and because Ms. LaCroix cannot prove any resulting damages.

       “An abuse of process claim originates from the common law and is recognized under

[Louisiana] jurisprudence as a compensable tort under LSA-C.C. art. 2315.” No Drama, LLC v.

Caluda, 177 So. 3d 747, 751 (La. App. 5th Cir. 2015) (quotation omitted). “[A]buse of process is

the misuse of legal process for an ulterior purpose. It consists in the malicious misuse or

misapplication of that process after issuance to accomplish some purpose not warranted or

commanded by the writ. It is malicious perversion of a legally issued process whereby a result not

lawfully or properly obtainable under it is attempted to be secured.” Ioppolo v. Rumana, 581 F.

App’x 321, 326 (5th Cir. 2014) (quotation omitted). See also Delcambre v. Mancuso, 268 So. 3d

325, 331 (La. App. 3rd Cir. 2019) (“An abuse of process occurs when the actor employs legal

process in a manner technically correct, but for a wrongful and malicious purpose to obtain an

unjustifiable end or an object which it was not the purpose of the particular process employed to

effect.”) (quotation omitted). “The essential elements of a cause of action for abuse of process are

(1) the existence of an ulterior purpose; and (2) a willful act in the use of the process not in the

regular prosecution of the proceeding.” Duboue v. City of New Orleans, 909 F.2d 129, 132 (5th

Cir. 1990). “The plaintiff must also prove damage resulting from the abuse.” Orrill v. Mortgage




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Electronic Registration Systems, Inc., No. 06-cv-10012, 2008 WL 1867706, at *2 (E.D. La. Apr.

24, 2008).40

       Ms. LaCroix alleges that Ms. Rodrigue committed the tort of abuse of process by sending

a document that purported to be an Article 66 subpoena directing Ms. LaCroix to appear at the

District Attorney’s Office, but was not in fact issued by a court pursuant to the procedure set forth

in Article 66. Ms. LaCroix alleges that “[b]y circumventing the requirements of Article 66,

Defendants avoided court oversight of investigative subpoenas, and they used them not to

investigate crimes pre-indictment, but to intimidate, coerce, and threaten witnesses after criminal

proceedings have already been initiated.” See Doc. No. 52 at ¶ 442. She further contends that “[t]he

conduct at issue in this claim is not the creation of fraudulent subpoenas, but rather the use of these

documents to gain private interrogations free of judicial oversight in which they could, among

other things, improperly coerce witnesses to change their testimony.” See Doc. No. 67 at 52.

However, Ms. LaCroix cannot prove that there was any misuse of “legal process,” that there was

any malicious, collateral purpose, or that she suffered any injury as a result.

       A.      The “DA subpoena” sent to Ms. LaCroix cannot give rise to a claim for abuse
               of process because it was not “legal process”—it was not issued by any court
               or enforceable in any court.

       “Louisiana courts have never considered the ‘process’ element of a cause of action for

abuse of process anything other than legal process, or court process.” Ioppolo, 581 F. App’x at 326

(quotation omitted). More than one hundred years ago, when the Fifth Circuit first recognized the

common-law tort of abuse of process under Louisiana law, the Fifth Circuit described it as


40
  See also Owl Constr. Co. v. Ronald Adams Contractor, Inc., 642 F. Supp. 475, 478 (E.D. La.
1986) (“Further, the abuse must have damaged the plaintiff in some manner.”); Mini-Togs. Inc. v.
Young, 354 So. 2d 1389, 1391 (La. App. 2nd Cir. 1978) (“To make out its case, the plaintiff must
prove irregular steps taken under cover of the process after its issuance, and damage to the plaintiff
resulting therefrom.”) (quotation omitted).


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“applicable to all kinds of abuses in the service of lawful process.” See Gonsouland v. Rosomano,

176 F. 481, 486 (5th Cir. 1910) (emphasis added). Eighty years later, the Fifth Circuit explained

again that “[t]he precise inquiry” in a claim for abuse of process “involves a misuse of a process

already legally issued whereby a party attempts to obtain some result not proper under law.”

Duboue v. City of New Orleans, 909 F.2d 129, 132 (5th Cir. 1990) (emphasis added). Louisiana

courts have similarly held that an abuse-of-process claim necessarily involves misuse of lawful

process. See, e.g., Almerico v. Dale, 927 So. 2d 586 (La. App. 5th Cir. 2006) (“In reviewing

Louisiana cases on abuse of process, we find none in which the ‘process’ part of the cause of action

has been considered anything other than legal process, or court process.”) (emphasis added);

Delcambre v. Mancuso, 268 So. 3d 325, 331 (La. App. 3rd Cir. 2019) (“An abuse of process occurs

when the actor employs legal process in a manner technically correct, but for a wrongful and

malicious purpose to obtain an unjustifiable end or an object which it was not the purpose of the

particular process employed to effect.”) (quotation omitted, emphasis added).

          Ms. LaCroix alleges that the “DA subpoenas” given to her and another plaintiff “were not

legal documents.” See Doc. No. 52 at ¶ 324.41 The Individual Defendants agree that the “DA

subpoena” given to Ms. LaCroix was not issued by any court or enforceable in any court, and that

it had no legal effect or authority at all. Accordingly, the “DA subpoena” given to Ms. LaCroix

was not “legal process” in any sense. Her abuse-of-process claim therefore fails as a matter of law.

          B.     Ms. Rodrigue did not act with a wrongful, malicious purpose to seek an
                 improper collateral objective—she was attempting to prepare for trial by
                 meeting with a witness who possessed important, relevant information.

          In addition to proving a misuse of “legal process,” a plaintiff alleging abuse of process

must also prove that the legal process was used “for a wrongful and malicious purpose to obtain


41
     Thus, as Ms. LaCroix alleges, “there was nothing to quash.” See Doc. No. 52 at ¶ 324.


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an unjustifiable end or an object which it was not the purpose of the particular process employed

to effect.” Hebert v. La. Licensed Prof’l Vocational Rehab. Counselors, 4 So. 3d 1002, 1009 (La.

App. 3rd Cir. 2009) (quotation omitted). Stated differently, the “process” must be used “to attain

some collateral objective, outside the scope of the operation of the process employed.” Id.

(quotation omitted). “It is the ‘hidden’ or ulterior motive that drives this claim and the improper

end its [sic] seeks to achieve.” Id. at 1010. Without this showing of a wrongful and malicious

purpose, an irregular or improper use of legal process does not satisfy the elements of the tort.

       For example, in Owl Construction Co. v. Ronald Adams Contractor, Inc., 642 F. Supp.

475, 478 (E.D. La. 1986), the district court found that, although the defendant’s filing of a lien was

“improper,” there was no “ulterior purpose or motive” because the defendant’s purpose was

legitimate—“to protect their interests in the collection of the money admittedly owed to them by

plaintiff OWL for materials supplied.” See also Harvey v. Caesars Entm’t Operating Co., 790 F.

App’x 582, 591 (5th Cir. 2019) (allegation that “Harrah’s reported [plaintiff] to the District

Attorney so that Harrah’s could collect a civil debt” did not state a claim for abuse of process

because “Louisiana law does not consider the desire to collect a civil debt to be an ulterior motive

for prosecution”).

       Ms. LaCroix cannot prove “the existence of an ulterior purpose” on Ms. Rodrigue’s part.

As Ms. Rodrigue explained in her deposition, her purpose in sending the document to Ms. LaCroix

was to prepare for an imminent trial by meeting with a potentially important witness to ascertain

what her testimony might be:

       Through her interview with Sports Illustrated, we learned that the defendant in the
       case, his first phone call was made to her on the scene of the crime after he had shot
       the victim. So at that time we did not know whether she had information relevant
       to the case. She had never told anybody that, the police or anybody else for that
       matter. So we were hoping to have her speak with us the same way she had spoken




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          with the media outlets just to see what the information was. Really just to make
          sure that there was no—no stone left unturned in preparation for the trial.42

Ms. Rodrigue further explained:

          It seemed extremely relevant, especially since we knew he was going self-defense.
          Self-defense is a very sort of different type of trial where every move he makes
          after the crime will be very important evidence in determining if he was acting out
          of fear of death or great bodily harm or he was acting with the intent to kill.43

          There is simply no evidence suggesting that Ms. Rodrigue had any other purpose in

attempting to arrange a meeting with Ms. LaCroix. In particular, there is no evidence supporting

the allegation that Ms. Rodrigue sought to “improperly coerce [Ms. LaCroix] to change [her]

testimony.” See Doc. No. 67 at 52. Nor is there any evidence suggesting that Ms. Rodrigue had

malice toward Ms. LaCroix or some desire to cause her harm. Before sending the “DA subpoena”

to Ms. LaCroix, Ms. Rodrigue had never met her or spoken with her and had never been informed

that Ms. LaCroix did not wish to speak with her.44 Nor has Ms. Rodrigue taken any action since

that time from which malice could be inferred. To this day, Ms. Rodrigue has never met or spoken

with Ms. LaCroix and has never attempted to have any punishment imposed on her for failure to

comply with the “DA subpoena.”

          C.     Ms. LaCroix cannot prove that she was injured by the mere receipt of a “DA
                 subpoena” that she did not comply with.

          Ms. LaCroix previously alleged that she “hired an attorney at personal expense” after

receiving the “DA subpoena.” See Doc. No. 67 at 38. However, in her deposition, Ms. LaCroix

testified to the contrary, explaining that she never paid any money to Mr. Ibert.45 Rather, Ms.



42
     See Exhibit 6, Rodrigue Depo., at 71.
43
     See Exhibit 6, Rodrigue Depo., at 79.
44
     See Exhibit 6, Rodrigue Depo., at 81.
45
     See Exhibit 7, LaCroix Depo., at 66.


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LaCroix testified that her mother paid Mr. Ibert’s $500 flat fee and never requested any

reimbursement from her.46 Ms. LaCroix cannot show any personal financial loss as a result of

hiring counsel.

          Ms. LaCroix also explained in her deposition that she is seeking damages based on the time

she had to take off work to appear for Cardell Hayes’s trial pursuant to a court subpoena.47 As

noted above, Judge Buras issued a subpoena ordering Ms. LaCroix to appear for the trial as a

potential witness.48 Ms. LaCroix testified in her deposition that she appeared for every day of the

trial, which lasted “a week, two maybe.”49 However, the trial subpoena was not even arguably

illegal or improper, which Ms. LaCroix conceded in her deposition.50 Thus, there is no basis for

Ms. LaCroix to recover damages for any alleged harm or loss resulting from her attendance at the

trial.

          Ms. LaCroix also seeks damages based on the time she allegedly took off from work to

meet with her lawyer. Ms. LaCroix testified that, the day after she received the “DA subpoena,”

she missed work when she went to meet with Mr. Ibert.51 Ms. LaCroix could not recall whether

she missed that entire day of work or only part of the day.52 She also could not give even a rough

estimate of how much money might have been deducted from her paycheck based on the time she

took off to meet with her lawyer on one day.53 Ms. LaCroix also explained that she did not have


46
     See Exhibit 7, LaCroix Depo., at 66–67.
47
     See Exhibit 7, LaCroix Depo., at 104–105.
48
     See Exhibit 11, Transcript of November 30, 2016 hearing, at 1–5.
49
     See Exhibit 7, LaCroix Depo., at 37–38.
50
     See Exhibit 7, LaCroix Depo., at 39–40.
51
     See Exhibit 7, LaCroix Depo., at 85–86.
52
     See Exhibit 7, LaCroix Depo., at 86.
53
     See Exhibit 7, LaCroix Depo., at 105–107.


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any documentation that would establish the amount of her allegedly lost income.54 Accordingly,

Ms. LaCroix cannot prove any damages in the form of lost income.

          Ms. LaCroix also apparently seeks damages for alleged emotional distress. The Complaint

alleges: “Because Ms. LaCroix was apprehensive, given the language used in the subpoenas and

the threats from prosecutors, she did not feel at liberty to travel or to leave the state until the

purported subpoena was quashed.” Doc. No. 52 at ¶ 323.55 But Ms. LaCroix testified that she had

no plans to travel or leave the state between November 27 (when she received the “DA subpoena”)

and November 29 (when her appearance was requested).56

          Ms. LaCroix testified that when she received the “DA subpoena,” she assumed that “it was

because [she] did something wrong” and that she was “in some form of trouble.”57 But she also

testified that she would have felt the same way if she had received a subpoena to testify at Cardell

Hayes’s trial.58 And, strikingly, Ms. LaCroix’s description of her alleged trauma focused on her

anxiety around the possibility of being properly served with a real, court-issued subpoena:

          [A]fter the fake subpoena, it was told to me I was going to get a real one, that—
          what was like—I asked like what could happen, like, if they were to give it to me
          at school. And then when I was told that they could come into my—it was a
          possibility they could walk into my classroom in the middle where I was teaching,
          the trauma—like, the idea—the trauma that it would cause, not only to myself, but
          to like all of my students who could see that, that could trigger—the thought of that




54
     See Exhibit 7, LaCroix Depo., at 106.
55
   Contrary to her allegation, Ms. LaCroix has never come forward with any evidence that she
received “threats from prosecutors.”
56
     See Exhibit 7, LaCroix Depo., at 86–87.
57
     See Exhibit 7, LaCroix Depo., at 72–73.
58
  See Exhibit 7, LaCroix Depo., at 73 (“Q: [I]f you had got a subpoena instead telling you to come
to trial to testify about Cardell Hayes, would you have also felt like it was because you did
something wrong? A: Yeah, I guess so, being punished by affiliation. I don’t know.”).


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          triggering so many ripple effects would, like, overwhelm me. Thinking about it
          now, its . . .59

          [T]he thought of them coming in . . . to serve me an actual—like give me a
          subpoena that they have to, I guess, someone have to give to me in my hand, I
          guess, if that’s how the law—how you’re supposed to do it, and the possibility of
          them coming to my school or, like doing that in front of my students and other
          people was traumatizing, like, within itself. That was partially a reason why I left
          the school that—that’s why I left 35 because of, like, the possibility of all kind of
          things, and I wanted to get a fresh start.60

          There is no basis for a rational fact-finder to conclude that Ms. LaCroix suffered

compensable emotional distress based on the mere receipt of a “DA subpoena,” which was sent to

her privately and not at her place of employment. Ms. LaCroix was never personally served with

the document; rather, she found it stuck in her door when she came home on the night of November

27, 2016.61 The following day, she spoke with a lawyer and was informed that she did not have to

comply “because the document was fake, basically.”62 The day after that, Ms. LaCroix gleefully

informed Mr. Hayes that her receipt of the document was “a good thing” that was “very very good”

for Mr. Hayes.63

          It appears that any distress Ms. LaCroix suffered was caused not by her uneventful receipt

of a document with no legal effect, but by the prospect of being legally compelled to testify as a

witness against the father of her child. Yet Ms. LaCroix was in possession of information that was

clearly relevant to Mr. Hayes’s claim of self-defense—which was the central issue in his case—

and was willing to exploit that information for his benefit in the news media and at sentencing. It



59
     See Exhibit 7, LaCroix Depo., at 108–109.
60
     See Exhibit 7, LaCroix Depo., at 110–111.
61
     See Exhibit 7, LaCroix Depo., at 48.
62
     See Exhibit 7, LaCroix Depo., at 54, 67.
63
   See Exhibit 9, Audio recording of November 29, 2016 phone call, at 0:22–1:45; see also Exhibit
7, LaCroix Depo., at 52–58.


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was perfectly legitimate for the State to seek out the information known to Ms. LaCroix and to

compel her attendance at trial, and any distress that she may have suffered as a result cannot legally

give rise to damages in this case.

II.     Ms. LaCroix’s fraud claim fails because she cannot prove any injury sustained in
        reliance on the truthfulness of allegedly false statements.

        “Fraud under Louisiana law entails a ‘misrepresentation or suppression of the truth made

with the intention to obtain an unjust advantage for one party or to cause a loss or inconvenience

to the other.’” First Am. Bankcard, Inc. v. Smart Business Tech., Inc., 178 F. Supp. 3d 390, 401

(E.D. La. 2016) (quoting LA. CIV. CODE art. 1953). “The Fifth Circuit has stated the requisite

elements of a fraud claims are: ‘(1) a misstatement or omission; (2) of material fact; (3) made with

the intent to defraud; (4) on which the plaintiff relied; and (5) which proximately caused the

plaintiff’s injury.’” Id. (quoting Williams v. WMX Techs., 112 F.3d 175, 177 (5th Cir. 1997)). “The

intent to deceive is a specific intent.” Schaumburg v. State Farm Mut. Auto. Ins. Co., 421 F. App’x

434, 442 (5th Cir. 2011). “Pleading fraud with particularity in this circuit requires time, place and

contents of the false representations, as well as the identity of the person making the

misrepresentation and what that person obtained thereby.” Williams, 112 F.3d at 177 (quotation

omitted).

        The Defendants previously sought dismissal of Ms. LaCroix’s fraud claim on the ground

that she had not adequately alleged any injury that was sustained in reliance on allegedly false

statements. See Doc. No. 63-1 at 42–43. In allowing Ms. LaCroix’s fraud claim to survive

dismissal under Rule 12(b)(6), the Court found only one alleged injury that was sufficient to sustain

the claim: that Ms. LaCroix hired a private attorney after being served with a “DA subpoena.” See

Doc. No. 116 at 42. The Court held that Ms. LaCroix had allegedly “suffered an injury—the cost

of a private attorney” in reliance on threatening language in the document. See id.



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          The Individual Defendants respectfully disagree with the Court’s earlier conclusion and

submit that Ms. LaCroix did not rely on the truthfulness of any statement in the “DA subpoena”

in retaining Mr. Ibert. Ms. LaCroix admits in her Complaint that she “retained Anthony J. Ibert to

challenge the fraudulent subpoena,” Doc. No. 52 at ¶ 322, and the grounds for the challenge were,

of course, that the “DA subpoena” was not actually a subpoena.64 Ms. LaCroix testified that in her

first meeting with Mr. Ibert, before he filed anything or appeared in court on her behalf, he

informed her that she did not have to appear at the District Attorney’s Office “because the

document was fake, basically.”65

          Additionally, the Court’s analysis dismissing Ms. LaCroix’s Fourth Amendment claim is

relevant here and calls for dismissal of her fraud claim for the same reasons. See Doc. No. 116 at

20. The Court explained that Ms. LaCroix was never “seized” because she did not submit to the

show of authority contained in the “DA subpoena”:

          [D]isputing a show of authority does not involve submission. Plaintiffs’ challenge
          to the ‘subpoena’ represented a show of defiance, the antithesis of submission.
          Accordingly, because neither Baham nor LaCroix was ever physically confined,
          nor did they ever submit to prosecutors’ show of authority, their Fourth Amendment
          rights were not violated.

Doc. No. 116 at 21. The Individual Defendants respectfully submit that reliance on the truthfulness

of the statements contained in an apparent subpoena cannot be meaningfully distinguished from

“submission” to the authority it claims. Because Ms. LaCroix and her lawyer were aware that the

“DA subpoena” was not a valid subpoena at the time when he was retained, and because Ms.

LaCroix did not comply with the “DA subpoena,” her fraud claim must be dismissed.




64
  See Exhibit 10, Motion to Quash; see also id. at page 1 of “Memorandum in Support” (asserting
that “the subpoena does not appear on its face to be issued by the clerk of court”).
65
     See Exhibit 7, LaCroix Depo., at 54, 67.


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          Furthermore, even if the Court adheres to its earlier reasoning, Ms. LaCroix’s fraud claim

fails for the simple reason that she did not in fact incur “the cost of a private attorney” in response

to the “DA subpoena.” See Doc. No. 116. As discussed above, Ms. LaCroix admitted that she

never paid any money to Mr. Ibert, and that his $500 flat fee was paid by her mother and never

reimbursed by her.66

III.      Ms. LaCroix cannot prove that either Mr. Pipes or Mr. Martin personally committed
          the torts of abuse of process or fraud against her.

          Ms. LaCroix has not even alleged that Mr. Pipes or Mr. Martin personally sent a “DA

subpoena” to her, directed that such a document be sent to her, or knew that such a document was

being sent to her. Nor can Ms. LaCroix produce any evidence proving that Mr. Pipes or Mr. Martin

did any of these things, because no such evidence exists. Mr. Pipes and Mr. Martin are therefore

entitled to summary judgment.

                                          CONCLUSION

          For the reasons explained above, Laura Rodrigue, David Pipes, and Graymond Martin are

entitled to summary judgment in their favor on the abuse-of-process and fraud claims asserted by

Tiffany LaCroix. Additionally, because there are no other claims pending against Ms. Rodrigue,

she should be dismissed as a party to the case.




66
     See Exhibit 7, LaCroix Depo., at 66–67.


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                                       Respectfully submitted,


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